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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEQq3p
                                            WAYCROSS DIVISION                           PH   2: 19
                                                                         CL E
                                                                                   SZT, AF_CLA^^

              JERIMEY WAYNE GIBSON,

                                  Petitioner,                       CIVIL ACTION NO.: CV511-085



              UNITED STATES OF AMERICA,                             (Case No.: CR509-13)

                                  Respondent.




                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                    Jerimey Gibson ("Gibson") filed a Motion to Vacate, Set Aside, or Correct his

              Sentence pursuant to 28 U.S.C. § 2255. The United States of America filed a Motion to

              Dismiss, to which Gibson failed to respond. For the reasons which follow, the United

              States' Motion should be GRANTED.

                                           STATEMENT OF THE CASE

                    Gibson was convicted, after pleading guilty, of conspiracy to manufacture

              methamphetamirie, in violation of 21 U.S.C. § 846. Gibson was sentenced on June 18,

              2010, to 88 months' imprisonment and four years supervised release. The Honorable

              Lisa Godbey Wood entered judgment against Gibson on June 21, 2010. (CR509-13,

              Doc. Nos. 124, 125). Gibson did not file an appeal.

                    In his Motion, Gibson contends that he was subjected to "double counting" on his

              sentence. Gibson asserts that his Motion is timely because he placed his Motion in the




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             prison mailing system on August 16, 2011, The United States contends that Gibson's

             Motion is untimely and should be dismissed.

                                    DISCUSSION AND CITATION TO AUTHORITY

                    Section 2255 of Title 28 of the United States Code provides:

                       A prisoner in custody under sentence of a court established by
                       Act of Congress claiming the right to be released upon the ground
                       that the sentence was imposed in violation of the Constitution or
                       laws of the United States, or that the court was without jurisdiction
                       to impose such sentence, or that the sentence was in excess of
                       the maximum authorized by law, or is otherwise subject to
                       collateral attack, may move the court which imposed the sentence
                       to vacate, set aside or correct the sentence.

             28 U.S.C. § 2255(a). Motions made pursuant to this section are subject to a statute of

             limitations period. This limitations period runs from the latest of:

                       (1) the date on which the judgment of conviction becomes final;

                       (2) the date on which the impediment to making a motion created
                       by governmental action in violation of the Constitution or laws of
                       the United States is removed, if the movant was prevented from
                       making a motion by such governmental action;

                       (3) the date on which the right asserted was initially recognized by
                       the Supreme Court, if that right has been newly recognized by the
                       Supreme Court and made retroactively applicable to cases on
                       collateral review; or

                       (4) the date on which the facts supporting the claim or claims
                       presented could have been discovered through the exercise of
                       due diligence.

             28 U.S.C. § 2255(f).

                    Gibson does not assert that he was prevented from making a motion earlier or

             that his motion is based on a new, retroactively applicable Supreme Court decision or

             newly discovered facts. 28 U.S.C. § 2255(f)(2)-(4). Thus, the applicable limitations

             period began when his conviction became final. 28 U.S.C. § 2255(f)(1). Gibson was

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              sentenced on June 18, 2010, and judgment was entered on June 21, 2010. (CR209-13,

              Doc. Nos. 124, 125). Gibson had 14 days, or until July 6, 2010, to file a notice of

              appeal. FED. R. App . P. 4(b)(1)(A)(i); FED. R. App . P. 26(a)(1)(C).1 Gibson did not file a

              notice of appeal, and his conviction became final on July 6, 2010. Murphy y. United

              States, 634 F.3d 1303, 1307 (11th Cir. 2011) (noting that, when a defendant does not

              appeal his conviction or sentence, the judgment of conviction becomes final when the

              time for seeking that review expires). Accordingly, Gibson had until July 7, 2011, to file

              a timely section 2255 motion. Gibson admits that he placed his § 2255 motion in the

              prison mail system on August 16, 2011, (Doc. No. 1, p. 12), which was more than one

              (1) month too late. Gibson untimely filed his motion under § 2255(f)(1).

                                                          CONCLUSION

                       Based on the foregoing, it is my RECOMMENDATION that the United States of

              America's Motion to Dismiss be GRANTED. It is also my RECOMMENDATION that

              Gibson's Motion to Vacate, Set Aside, or Correct his Sentence, filed pursuant to 28

              U.S.C. § 2255, be DISMISSED.

                      SO REPORTED and RECOMMENDED, this                          7 -day of November, 2011.




                                                                           E. GRAHAM
                                                                            STATES MAGISTRATE JUDGE




              1
               Gibson's 14 day period to file a notice of appeal expired July 5, 2010, which was a federal holiday. Thus,
              his notice of appeal had to be filed on or before July 6, 2010, to be timely filed with the Eleventh Circuit
              Court of Appeals.

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